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Attorney or Party Name, Address, Telephone & FAX Nos.:, State Bar No. &     FOR COURT USE ONLY
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    Individual appearing without attorney
    Attorney for: Debtor

                                             UNITED STATES BANKRUPTCY COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

List all names (including trade names) used by the debtor                   CASE NO.:.
within the last 8 years:
                                                                            CHAPTER 13
   Alicia Quezada - Escobar
     AKA Alicia Quezada                                                                      CHAPTER 13 PLAN

                                                                            CREDITORS MEETING:
                                                                            Date:
                                                                            Time:
                                                                            Place:  21051 Warner Ctr Ln., Woodland Hills, CA


                                                                            CONFIRMATION HEARING:
                                                                            Date:
                                                                            Time:
                                                                            Place:  21041 Burbank Bl., Woodland Hills, CA
                                                               Debtor(s).

                                                                 NOTICE
This Chapter 13 Plan is proposed by the above Debtor. The Debtor attests that the information stated in this Plan is
accurate. Creditors cannot vote on this Plan. However, creditors may object to this Plan being confirmed pursuant to 11
U.S.C. § 1324. Any objection must be in writing and must be filed with the court and served upon the Debtor, Debtor's
attorney (if any), and the chapter 13 trustee not less than 7 days before the date set for the meeting of creditors. Unless
an objection is filed and served, the court may confirm this Plan. The Plan, if confirmed, modifies the rights and duties of
the Debtor and creditors to the treatment provided in the Plan as confirmed, with the following IMPORTANT
EXCEPTIONS:
Unless otherwise provided by law, each creditor will retain its lien until the earlier of payment of the underlying debt
determined under non-bankruptcy law or discharge under 11 U.S.C.§1328. If the case under this chapter is dismissed or
converted without completion of the Plan, such lien shall also be retained by such holder to the extent recognized by
applicable non-bankruptcy law.
Defaults will be cured using the interest rate set forth below in the Plan. Any ongoing obligation will be paid according to
the terms of the Plan.




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HOLDERS OF SECURED CLAIMS AND CLASS 1 CLAIMANTS WILL BE PAID ACCORDING TO THIS PLAN AFTER
CONFIRMATION UNLESS THE SECURED CREDITOR OR CLASS 1 CLAIMANT FILES A PROOF OF CLAIM IN A
DIFFERENT AMOUNT THAN THAT PROVIDED IN THE PLAN. If a secured creditor or a class 1 creditor files a proof of
claim, that creditor will be paid according to that creditor’s proof of claim, unless the court orders otherwise.

HOLDERS OF ALL OTHER CLAIMS MUST TIMELY FILE PROOFS OF CLAIMS, IF THE CODE SO REQUIRES, OR
THEY WILL NOT BE PAID ANY AMOUNT. A Debtor who confirms a Plan may be eligible thereafter to receive a
discharge of debts to the extent specified in 11 U.S.C. § 1328.

The Debtor proposes the following Plan and makes the following declarations:

I.   PROPERTY AND FUTURE EARNINGS OR INCOME SUBJECT TO THE SUPERVISION AND CONTROL OF THE
     CHAPTER 13 TRUSTEE:

          The Debtor submits the following to the supervision and control of the chapter 13 trustee:

     A.   Payments by Debtor of $505.01 per month for 60 months. This monthly Plan Payment will begin within 30 days
          of the date the petition was filed.

     B.   The base plan amount is $ 30,300.60 which is estimated to pay 100 % of the allowed claims of nonpriority
          unsecured creditors. If that percentage is less than 100%, the Debtor will pay the Plan Payment stated in this
          Plan for the full term of the Plan or until the base plan amount is paid in full, and the chapter 13 trustee may
          increase the percentage to be paid to creditors accordingly.

     C.   Amounts necessary for the payment of postpetition claims allowed under 11 U.S.C. § 1305.

     D.   Preconfirmation adequate protection payments for any creditor who holds an allowed claim secured by personal
          property where such security interest is attributable to the purchase of such property and preconfirmation
          payments on leases of personal property whose allowed claim is impaired by the terms proposed in the plan.
          Preconfirmation adequate protection payments and preconfirmation lease payments will be paid to the chapter
          13 trustee for the following creditor(s) in the following amounts:

 Creditor/Lessor Name               Collateral Description                      Last 4 Digits of Account #                                     Amount
 -NONE-

     Each adequate protection payment or preconfirmation lease payment will commence on or before the 30th day from
     the date of filing of the case. The chapter 13 trustee shall deduct the foregoing adequate protection payment(s)
     and/or preconfirmation lease payment from the Debtor’s Plan Payment and disburse the adequate protection
     payment or preconfirmation lease payment to the secured(s) creditor(s) at the next available disbursement or as
     soon as practicable after the payment is received and posted to the chapter 13 trustee’s account. The chapter 13
     trustee will take his or her statutory fee on all disbursements made for preconfirmation adequate protection payments
     or preconfirmation lease payments.

     E.   Other property: (specify property or indicate none)
            NONE




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II.   ORDER OF PAYMENTS; CLASSIFICATION AND TREATMENT OF CLAIMS:
      Except as otherwise provided in the Plan or by court order, the chapter 13 trustee shall disburse all available funds
      for the payment of claims as follows:

      A.   ORDER OF PAYMENTS:

           1. If there are Domestic Support Obligations, the order of priority shall be:

                (a) Domestic Support Obligations and the chapter 13 trustee’s fee not exceeding the amount accrued on
                    payments made to date;

                (b) Administrative expenses (Class 1(a)) in an amount not exceeding                          100 % of each Plan Payment until
                    paid in full;

           2. If there are no Domestic Support Obligations, the order of priority shall be the chapter 13 trustee’s fee not
              exceeding the amount accrued on payments made to date, and administrative expenses (Class 1(a)) in an
              amount not exceeding 100 % of each Plan Payment until paid in full.

           3. Notwithstanding 1 and 2 above, ongoing payments on secured debts that are to be made by the chapter 13
              trustee from the Plan Payment; such secured debt may be paid by the chapter 13 trustee commencing with
              the inception of Plan Payments.

           4. Subject to 1, 2, and 3 above, pro rata to all other claims except as otherwise provided in the Plan.

           5. No payment shall be made on nonpriority unsecured claims until all secured and priority claims have been
              paid in full.




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      B.   CLASSIFICATION AND TREATMENT OF CLAIMS:

                                               CLASS 1
                    ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER 11 U.S.C. §507

The Debtor will pay Class 1 claims in full; except the debtor may provide for less than full payment of Domestic Support
Obligations pursuant to 11 U.S.C. §1322(a)(4).

             CATEGORY                           AMOUNT OF                  INTEREST             MONTHLY            NUMBER OF              TOTAL
                                              PRIORITY CLAIM               RATE, if any         PAYMENT             MONTHS               PAYMENT

a. Administrative Expenses

(1)    Chapter 13 trustee’s fee – estimated at 10% of all payments to be made to all classes through this Plan.

(2)    Attorney’s Fees                                     $2,000.00                                   $400.00             5                    $2,000.00

(3)    Chapter 7 trustee’s fees


(4)    Other

b. Other Priority Claims

(1)    Internal Revenue Service

(2)    Franchise Tax Board

(3)    Domestic Support Obligation

(4)    Other

c.     Domestic Support Obligations that are not to be paid in full in the Plan (specify creditor name):




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                                                                    CLASS 2

           CLAIMS SECURED SOLELY BY PROPERTY THAT IS THE DEBTOR’S PRINCIPAL RESIDENCE
                ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE
    1.       The postconfirmation monthly mortgage payment will be made by the chapter 13 trustee from the Plan
    Payment to:
    2.          The postconfirmation monthly mortgage payment will be made by the Debtor directly to:

    Quicken Loans                                                                                                      xxxxxx5593
                     (name of creditor)                                                    (last 4 digits of account number)

The Debtor will cure all prepetition arrearages for the primary residence through the Plan Payment as set forth below.

                                                                                          Cure of Default
                          Last 4 Digits of         AMOUNT OF             INTEREST             MONTHLY            NUMBER OF               TOTAL
Name of Creditor         Account Number            ARREARAGE               RATE               PAYMENT             MONTHS                PAYMENT

Quicken Loans          xxxxxx5593                $25,000.00                    0                     $454.55            55                 $25,000.00




                                                                    CLASS 3

                 CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE PAID IN FULL
                                    DURING THE TERM OF THE PLAN

                                Last 4                            SECURED                                Equal          NUMBER
                               Digits of          CLAIM                             INTEREST                                             TOTAL
   Name of Creditor                                                CLAIM                                Monthly           OF
                               Account            TOTAL                               RATE                                              PAYMENT
                                                                  AMOUNT                                Payment         MONTHS
                                 No.




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                                                                      CLASS 4

   OTHER SECURED CLAIMS ON WHICH THE LAST PAYMENT IS DUE AFTER THE DATE ON WHICH THE FINAL
                               PAYMENT UNDER THE PLAN IS DUE
       1.         The postconfirmation monthly payment pursuant to the promissory note will be made by the chapter 13
       trustee from the Plan Payment to:
       2.          The postconfirmation monthly payment pursuant to the promissory note will be made by the Debtor
       directly to:


                       (name of creditor)                                                    (last 4 digits of account number)


                       (name of creditor)                                                    (last 4 digits of account number)

 The Debtor will cure all prepetition arrearages on these claims through the Plan Payment as set forth below.

                                                                                            Cure of Default
                            Last 4 Digits of         AMOUNT OF             INTEREST             MONTHLY            NUMBER OF               TOTAL
 Name of Creditor          Account Number            ARREARAGE               RATE               PAYMENT             MONTHS                PAYMENT




                                                                      CLASS 5

                                                   NON-PRIORITY UNSECURED CLAIMS

 The Debtor estimates that non-priority unsecured claims total the sum of $545.00 .

 Class 5 claims will be paid as follows:

 (Check one box only.)
          Class 5 claims (including allowed unsecured amounts from Class 3) are of one class and will be paid pro rata.
 OR
           Class 5 claims will be divided into subclasses as shown on the attached exhibit directly below (which also shows
 the justification for the differentiation among the subclasses) and the creditors in each subclass will be paid pro rata.


III.   COMPARISON WITH CHAPTER 7

The value as of the effective date of the Plan of property to be distributed under the Plan on account of each allowed
claim is not less than the amount that would be paid on such claim if the estate of the Debtor were liquidated under
chapter 7 of the Bankruptcy Code on such date. The amount distributed to nonpriority unsecured creditors in chapter 7
would be $ 0.00 which is estimated to pay 0 % of the scheduled nonpriority unsecured debt.




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IV.   PLAN ANALYSIS


CLASS 1a                                                                                                       $2,000.00

CLASS 1b                                                                                                            $0.00

CLASS 1c                                                                                                            $0.00

CLASS 2                                                                                                       $25,000.00

CLASS 3                                                                                                             $0.00

CLASS 4                                                                                                             $0.00

CLASS 5                                                                                                          $545.00

SUB-TOTAL                                                                                                     $27,545.00

CHAPTER 13 TRUSTEE'S FEE (Estimated 10% unless
advised otherwise)                                                                                             $2,754.60

TOTAL PAYMENT                                                                                                 $30,300.60


V.    OTHER PROVISIONS

      A. The Debtor rejects the following executory contracts and unexpired leases.
           Name of Other Party:                                   Description of contract/lease:
                -NONE-

      B. The Debtor assumes the executory contracts or unexpired leases set forth in this section. As to each contract or
         lease assumed, any defaults therein and Debtor’s proposal for cure of said default(s) is described in Class 4 of
         this Plan. The Debtor has a leasehold interest in personal property and will make all post-petition payments
         directly to the lessor(s):
            Name of Other Party:                                Description of contract/lease:
                -NONE-

      C. In addition to the payments specified in Class 2 and Class 4, the Debtor will make regular payments, including
         any preconfirmation payments, directly to the following:
            Creditor Name:                                        Monthly Payment:
                -NONE-

      D. The Debtor hereby surrenders the following personal or real property. (identify property and creditor to which it
         is surrendered):
            Creditor Name:                                       Description:
                -NONE-

      E. The Debtor shall incur no debt greater than $500.00 without prior court approval unless the debt is incurred in
         the ordinary course of business pursuant to 11 U.S.C. §1304(b) or for medical emergencies.

      F. Miscellaneous provisions: (use attachment, if necessary):

      G. The chapter 13 trustee is authorized to disburse funds after the date confirmation is announced in open court.

      H. The Debtor will pay timely all postconfirmation tax liabilities directly to the appropriate taxing authorities as they
         come due.

      I.   The Debtor will pay all amounts required to be paid under a Domestic Support Obligation that first became
           payable after the date of the filing of the petition.




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VI.     REVESTING OF PROPERTY

         Property of the estate shall not revest in the Debtor until such time as a discharge is granted or the case is
         dismissed or closed without discharge. Revestment shall be subject to all liens and encumbrances in existence
         when the case was filed, except those liens avoided by court order or extinguished by operation of law. In the
         event the case is converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the
         estate shall vest in accordance with applicable law. After confirmation of the Plan, the chapter 13 trustee shall
         have no further authority or fiduciary duty regarding use, sale, or refinance of property of the estate except to
         respond to any motion for proposed use, sale, or refinance as required by the LBRs. Prior to any discharge or
         dismissal, the Debtor must seek approval of the court to purchase, sell, or refinance real property.



Date:     February 3, 2015                                                        /s/ Donald Iwuchuku, Esq.
                                                                                  Donald Iwuchuku, Esq. 181726
                                                                                  181726
                                                                                  Attorney for Debtor


                                                                                  /s/ Alicia Quezada - Escobar
                                                                                  Alicia Quezada - Escobar
                                                                                  Debtor




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